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 7

 8                                   IN THE UNITED STATES DISTRICT COURT

 9                                      EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                             CASE NO. 2:13-CR-00103 MCE

12                                     Plaintiff,          STIPULATION TO CONTINUE STATUS
                                                           HEARING; ORDER
13                             v.
                                                           [18 U.S.C. § 3161]
14   ALEKSANDR KOVALEV, et al.,

15                                     Defendants.

16
17                                                   STIPULATION

18           Plaintiff United States of America, by and through its counsel of record, and defendant Arthur

19 Menefee, by and through his counsel of record, hereby stipulate as follows:

20           1.       By previous order this matter was set for a status hearing on January 12, 2017.

21           2.       By this stipulation, defendant now moves to continue the status conference until January

22 19, 2017.

23           3.       The parties agree and stipulate, and request that the Court find the following:

24                    a)      The United States has previously produced substantial discovery in this case and a

25 plea agreement that was set to expire on January 12, 2017.

26                    b)      The defense counsel has experienced a death in his family which affected his

27 ability to meet with his client to address the plea agreement. The defense counsel represents that there is

28 additional work he must do to finalize the potential plea agreement.

       Stipulation Re Continuing Status Hearing            1
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 1                    c)      Counsel for the defendant believes that failure to grant the above-requested

 2 continuance would deny them the reasonable time necessary for effective preparation, taking into
 3 account the exercise of due diligence.

 4                    d)      The United States does not object to the continuance.

 5                    e)      Based on the above-stated findings, the ends of justice served by continuing the

 6 case as requested outweigh the interest of the public and the defendants in a trial within the original date

 7 prescribed by the Speedy Trial Act.

 8                    f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9 et seq., within which trial must commence, the time period of January 12, 2017 through January 19,

10 2017, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
11 because it results from a continuance granted by the Court at defendant’s request on the basis of the

12 Court's finding that the ends of justice served by taking such action outweigh the best interest of the

13 public and the defendant in a speedy trial.
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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.

 4

 5          IT IS SO STIPULATED.

 6 Dated: January 10, 2017                                     PHILLIP A. TALBERT
                                                               United States Attorney
 7
                                                               /s/ Todd A. Pickles
 8                                                             TODD A. PICKLES
                                                               Assistant United States Attorney
 9

10 Dated: January 10, 2017
                                                               /s/ Todd A. Pickles for
11                                                             MARK J. REICHEL, ESQ.

12                                                             Counsel for defendant Arthur Menefee

13
                                                       ORDER
14
            IT IS SO ORDERED.
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     Dated: January 19, 2017
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      Stipulation Re Continuing Status Hearing             3
